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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable John A. Mendez
United States District Judge
Sacramento, California

                                         RE:    Mouang SAELEE
                                                Docket Number: 2:06CR00343-05
                                                RELEASE OF PASSPORT

Your Honor:

On March 8, 2007, the Honorable David F. Levi sentenced the above noted offender
following her plea of guilty to a violation of 18 USC 1955(a) - Conducting an Illegal
Gambling Business. She was sentenced to the 24 months probation. Special conditions
of supervised release included: Search and seizure; Financial disclosure; and Home
detention for 180 consecutive days.

Ms. Saelee was under the supervision of the United States Pretrial Services from
August 17, 2006, to a self-surrender date of March 8, 2007. As a condition of pretrial
release, Ms. Saelee was ordered to forfeit her passport to the clerk's office. Ms. Saelee
is requesting her passport be returned but the United States District Court Clerk's Office
will not return the passport without authorization from the sentencing judge.

Therefore, we are recommending that Your Honor agree to have the United States District
Court Clerk's Office release Ms. Saelee’s passport to her.




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RE:      Mouang SAELEE
         Docket Number: 2:06CR00343-005
         RELEASE OF PASSPORT



                               Respectfully submitted,


                                 /s/Glenn P. Simon
                                 GLENN P. SIMON
                           United States Probation Officer

Dated:        March 25, 2009
              Sacramento, California
              GPS/cp


REVIEWED BY:        /s/Kyriacos M. Simonidis
                    KYRIACOS M. SIMONIDIS
                    Supervising United States Probation Officer




________________________________________________________________



AGREE: ____X______                           DISAGREE: ___________


/s/ John A. Mendez                                                3/27/2009
JOHN A. MENDEZ                                                    DATE
United States District Judge




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